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                     EXHIBIT 4
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   From: King, Jeremy
   Sent: Thursday, August 3, 2023 8:06 AM
   To: David Yerushalmi
   Cc: Eckstein, Maya; Powell, Lewis>; Elliker, Kevin; 'C. Page'>
   Subject: RE: Plaintiffs Document Production in Response to RMast RFPs

   David,

   We respectfully disagree with your interpretation of the case law you provided, most of which is out-of-
   circuit and inapplicable to our case. Per our previous email, the documents you received contain
   metadata sufficient to demonstrate their provenance. Whatsapp messages have been produced in their
   exported format, with the sender and recipient’s information included as well as timestamps. Emails
   have been produced as chains with all associated metadata. The documents for which provenance may
   be less obvious from the face of the document are those received through your client in the state court
   litigation. We trust this explanation satisfies your first two concerns concerning provenance. That said,
   despite our disagreements, out of respect for the court’s time, and to avoid further motion practice we
   have attached a spreadsheet that lists each RFP and bates ranges for responsive documents within the
   productions.

   With respect to your third question, any further documents we produce will be new, relevant
   documents and communications that we identify in a refreshed collection of our clients’ phones.

   We will respond to your comments regarding common interest privilege under separate cover sent to all
   defendants. You will recall, however, that our agreement that parties need not log attorney-client
   communications following the initiation of the state-court litigation did not apply to third-party
   communications. For instance, you instructed that if Plaintiffs intended to assert a “common interest”
   with the government, you expected those communications to be logged. Of course, we have not
   withheld those communications so your concerns were unfounded. But this is not a change in the “rules
   of engagement” insofar as we simply ask you play by the same rules we have.

   Best,
   Jeremy



                               Jeremy King
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